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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                              4:16CR3033
    vs.
                                                               ORDER
MICHAEL H. MELCHIOR, AND PEGGY
A. BRENNAN,
                    Defendants.



    IT IS ORDERED:

    1)    The government’s motion to continue, (filing no. 72), is granted.

    2)    The evidentiary hearing on defendants’ motion to suppress, (filing no. 57),
          will be held before the undersigned magistrate judge on September 1, 2016
          at 2:15 p.m. in Courtroom #2, United States Courthouse, Lincoln,
          Nebraska. Two hours have been set aside for this hearing.

    3)    Defendant Brennan’s supplemental briefing on the motion to suppress shall
          be filed on or before August 12, 2016.

    4)    The government’s response to the motion to suppress shall be filed on or
          before August 26, 2016.

    July 6, 2016.

                                               BY THE COURT:
                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
